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1/18/2019        Case 18-34249-KCF                                 Property Detail
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   New Search     Assessment Postcard    Property Card
  Block:         132         Prop Loc:  145 BEACON HILL ROAD Owner:         PLAZA, RITA             Square Ft: 2194
  Lot:           39          District:  1330 MARLBORO          Street:      145 BEACON HILL ROAD    Year Built: 1973
  Qual:                      Class:     2                      City State: MORGANVILLE, NJ 07751    Style:      1
                                                           Additional Information
  Prior Block:   26          Acct Num:                         Addl Lots:                           EPL Code: 0 0 0
  Prior Lot:     25.A        Mtg Acct: 08000                   Land Desc: 2.3AC                     Statute:
  Prior Qual:                Bank Code: 660                    Bldg Desc: 1S-F-R-2AG                Initial:  000000 Further: 000000
  Updated:       06/16/17    Tax Codes: F03                    Class4Cd: 0                          Desc:
  Zone:          LC          Map Page: 21                      Acreage:     2.3                     Taxes:    9600.16 / 9789.58
                                                             Sale Information
  Sale Date:     06/02/04    Book:      8374 Page: 71          Price:       560000 NU#: 0
         Sr1a            Date             Book               Page              Price          NU#   Ratio              Grantee
                                                              TAX-LIST-HISTORY
                                                                  Property
  Year      Owner Information     Land/Imp/Tot Exemption Assessed
                                                                    Class
  2019 PLAZA, RITA                       241000          0     430500      2
         145 BEACON HILL ROAD            189500
         MORGANVILLE, NJ 07751           430500


  2018 PLAZA, RITA                       241000          0     430500      2
         145 BEACON HILL ROAD            189500
         MORGANVILLE, NJ 07751           430500


  2017 PLAZA, RITA                       241000          0     430500      2
         145 BEACON HILL ROAD            189500
         MORGANVILLE, NJ 07751           430500


  2016 PLAZA, RITA                       241000          0     430500      2
         145 BEACON HILL ROAD            189500
         MORGANVILLE, NJ 07751           430500

  *Click on Underlined Year for Tax List Page

  *Click Here for More History




http://tax1.co.monmouth.nj.us/cgi-bin/m4.cgi?district=1330&l02=133000132____00039_________M                                            1/1
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                                      AGG. ASSESSED        AVE. RATIO                             ASSESSED VALUE     ASSESSED VALUE
                                                                          AGG. TRUE VALUE                                               EQUALIZED
            COUNTY AND DISTRICT         VALUATION        ASSESSED TO                                CLASS II R. R.      ALL PERS.
                                                                            REAL PROP. *                                                VALUATION
                                       REAL PROP. *       TRUE VALUE                                 PROPERTY           PROPERTY
       MONMOUTH COUNTY
1301   ABERDEEN TWP                      2,155,910,290           92.16            2,339,312,381                                           2,339,312,381
1302   ALLENHURST BORO                     578,497,700           87.15              663,795,410                               223,489       664,018,899
1303   ALLENTOWN BORO                      192,297,000           98.21              195,801,853                                             195,801,853
1304   ASBURY PARK CITY                  1,637,788,300           93.86            1,744,926,806                                           1,744,926,806
1305   ATLANTIC HIGHLANDS BORO             895,777,900           99.55              899,827,122                             1,640,727       901,467,849
1306   AVON BY THE SEA BORO                921,002,500           88.77            1,037,515,489                                           1,037,515,489
1307   BELMAR BORO                       1,683,434,200           92.61            1,817,767,196                                           1,817,767,196
1308   BRADLEY BEACH BORO                1,188,301,100           88.64            1,340,592,396                                           1,340,592,396
1309   BRIELLE BORO                      1,530,792,800           99.00            1,546,255,354                                           1,546,255,354
1310   COLTS NECK TWP                    3,021,200,000           98.22            3,075,951,945                             3,876,763     3,079,828,708
1311   DEAL BORO                         2,152,851,500           81.80            2,631,847,800                               778,315     2,632,626,115
1312   EATON TOWN BORO                   2,203,108,100           96.08            2,292,993,443                             7,064,920     2,300,058,363
1313   ENGLISHTOWN BORO                    248,186,000           96.23              257,909,176                                             257,909,176
1314   FAIRHAVEN BORO                    1,720,609,300           96.97            1,774,372,796                               450,480     1,774,823,276
1315   FARMINGDALE BORO                    166,874,600          104.89              159,094,861                                             159,094,861
1316   FREEHOLD BORO                     1,055,470,500           96.67            1,091,828,385                                           1,091,828,385
1317   FREEHOLD TWP                      6,326,367,000           95.63            6,615,462,721                                           6,615,462,721
1318   HAZLET TWP                        2,435,976,000           93.66            2,600,871,236                             1,631,921     2,602,503,157
1319   HIGHLANDS BORO                      606,036,300           89.56              676,681,889                               301,259       676,983,148
1320   HOLMDEL TWP                       4,213,968,200           98.79            4,265,581,739                             6,830,315     4,272,412,054
1321   HOWELL TWP                        6,903,932,000           92.13            7,493,685,010                                           7,493,685,010
1322   INTERLAKEN BORO                     261,908,500           86.68              302,155,630                               102,122       302,257,752
1323   KEANSBURG BORO                      452,423,300           84.41              535,983,059                               424,972       536,408,031
1324   KEYPORT BORO                        710,171,300           99.12              716,476,291                             4,364,000       720,840,291
1325   LITTLE SILVER BORO                1,687,350,500           95.50            1,766,859,162                             1,167,167     1,768,026,329
1326   LOCH ARBOUR VILLAGE                 171,953,900          108.56              158,395,265                                68,951       158,464,216
1327   LONG BRANCH CITY                  4,539,905,160           91.15            4,980,696,829                                           4,980,696,829
1328   MANALAPAN TWP                     6,641,165,500           90.77            7,316,476,259                                           7,316,476,259
1329   MANASQUAN BORO                    1,982,950,975           90.74            2,185,310,750                                           2,185,310,750




   *EXCLUSIVE OF CLASS II RAILROAD PROPERTY
                                  Case 18-34249-KCF         Doc 8-4 Filed 02/04/19 Entered 02/04/19 16:53:21                      Desc
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                                                                      (Prior to Tax Court Appeals)

                                              1                  2                     3                    4                  5               6
                                      AGG. ASSESSED         AVE. RATIO                               ASSESSED VALUE     ASSESSED VALUE
                                                                             AGG. TRUE VALUE                                               EQUALIZED
            COUNTY AND DISTRICT         VALUATION         ASSESSED TO                                  CLASS II R. R.      ALL PERS.
                                                                               REAL PROP. *                                                VALUATION
                                       REAL PROP. *        TRUE VALUE                                   PROPERTY           PROPERTY
1330   MARLBORO TWP                       7,189,317,700             89.87            7,999,685,880                                            7,999,685,880
1331   MATAWAN BORO                       1,085,431,500             97.01            1,118,886,197                                            1,118,886,197
1332   MIDDLETOWN TWP                    10,851,465,700             97.79           11,096,702,833                            13,448,084     11,110,150,917
1333   MILLSTONE TWP                      1,863,401,360             96.67            1,927,590,111                             6,485,366      1,934,075,477
1334   MONMOUTH BEACH BORO                1,465,914,900             95.81            1,530,022,858                                            1,530,022,858
1335   NEPTUNE TWP                        3,906,392,700             94.00            4,155,736,915                                            4,155,736,915
1336   NEPTUNE CITY BORO                    573,706,600             95.96              597,860,150                                              597,860,150
1337   OCEAN TWP                          4,980,357,400             94.58            5,265,761,683                             4,022,459      5,269,784,142
1338   OCEANPORT BORO                     1,296,265,900            103.23            1,255,706,578                               650,759      1,256,357,337
1339   RED BANK BORO                      2,128,263,900             92.83            2,292,646,666                             7,916,257      2,300,562,923
1340   ROOSEVELT BORO                        85,696,100             96.05               89,220,302                               118,113         89,338,415
1341   RUMSON BORO                        3,574,982,600             97.27            3,675,318,803                             1,121,447      3,676,440,250
1342   SEA BRIGHT BORO                      737,640,000             91.55              805,723,648                               476,674        806,200,322
1343   SEA GIRT BORO                      2,451,198,800             95.98            2,553,864,138                                            2,553,864,138
1344   SHREWSBURY BORO                    1,168,426,200             98.27            1,188,995,828                             1,120,813      1,190,116,641
1345   SHREWSBURY TWP                        57,930,800            109.96               52,683,521                               409,645         53,093,166
1346   LAKE COMO BORO                       411,608,600             99.03              415,640,311                                              415,640,311
1347   SPRING LAKE BORO                   4,096,227,100             95.65            4,282,516,571                                            4,282,516,571
1348   SPRING LAKE HEIGHTS BORO           1,240,340,300             97.63            1,270,449,964                                            1,270,449,964
1349   TINTON FALLS BORO                  3,182,355,200             94.03            3,384,404,126                             3,706,090      3,388,110,216
1350   UNION BEACH BORO                     564,878,300             93.29              605,507,879                               502,593        606,010,472
1351   UPPER FREEHOLD TWP                 1,250,287,700             96.84            1,291,086,018                                            1,291,086,018
1352   WALL TWP                           5,962,882,400             94.34            6,320,630,061                             7,824,535      6,328,454,596
1353   WEST LONG BRANCH BORO              1,297,298,500             95.19            1,362,851,665                               680,770      1,363,532,435

          TOTAL MONMOUTH COUNTY        119,708,480,685              94.24          127,023,920,959                  0         77,409,006    127,101,329,965




   *EXCLUSIVE OF CLASS II RAILROAD PROPERTY
